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                                                     JUDGE ROBERT S. LASNIK




                     IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                No. CR12-240RSL
                                    )
            v.                      )                ORDER CONTINUING TRIAL
                                    )                DATE AND EXTENDING MOTIONS
GLEN JAMES KLAGES,                  )                FILING DEADLINE
                                    )
                        Defendant.  )
____________________________________)

       THIS MATTER having come before the Court on the Stipulation of the parties to

continue the trial date and extend the motions filing deadline and the defendant’s voluntary

waiver, and good cause appearing therefore, the Court hereby adopts the facts justifying a

continuance as set forth in the record and in the Stipulation to Continue, and makes the

following findings of fact and conclusions of law:

       1. The ends of justice served by granting the motion and continuing the trial date

outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.

§3161(h)(7)(A).

       2. Proceeding to trial absent adequate time for the defense to prepare would result in

a miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(I).

       3. The defendant needs additional time to explore all relevant issues and defenses

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applicable to the case. Given this, it would be unreasonable to expect adequate preparation

for pretrial proceedings or for the trial itself within the time limits established by the Speedy

Trial Act and as currently set for this case. 18 U.S.C. §3161(h)(7)(B)(ii).

       4. Taking into account the exercise of due diligence, a continuance is necessary to

allow the defendant reasonable time for effective preparation of his defense. 18 U.S.C.

§3161(h)(7)(B)(iv).

       NOW THEREFORE, IT IS HEREBY ORDERED that the trial date in this matter is

continued from June 16, 2014, to July 28, 2014. The resulting period of delay from June 16,

2014, up to and including the new trial date, is hereby excluded for speedy trial purposes

under 18 U.S.C. §3161(h)(7)(A) and (B).

       IT IS FURTHER ORDERED that pretrial motions are due no later than June 23, 2014.

       DONE this 6th day of June, 2014.



                                               A
                                               Robert S. Lasnik
                                               United States District Judge




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